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12                                  UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
15

16   NANTWORKS, LLC,                                Case No. 3:20-CV-06262-LB
     NANT HOLDINGS IP, LLC,
17                                                  Magistrate Judge Laurel Beeler
                      Plaintiffs,
18                                                  DEFENDANT NIANTIC, INC.’S OPPOSITION
            v.                                      TO PLAINTIFFS NANTWORKS, LLC AND
19                                                  NANT HOLDINGS IP, LLC’S MOTION TO
                                                    EXCLUDE CERTAIN OPINIONS AND
20   NIANTIC, INC.,                                 TESTIMONY OF DEFENDANT’S EXPERTS
                                                    JULIA ROWE AND NATHANIEL POLISH
21                    Defendant.                    UNDER FED. R. EVID. 702 AND DAUBERT
22                                                  DATE:        May 30, 2024
                                                    TIME:        9:30 a.m.
23
                                                    Courtroom B – 15th Floor
24                                                  450 Golden Gate Ave.
                                                    San Francisco, CA 94102
25

26

27                                   REDACTED VERSION
28
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 1   I.      INTRODUCTION
 2           NantWorks provides no basis for excluding the reasoned expert opinions of Niantic’s
 3   experts – Julia Rowe (damages expert) and Nathaniel Polish (technical expert).                Rather,
 4   NantWorks’ motion shows a fundamental misunderstanding of the law and illustrates that cross-
 5   examination—not exclusion—is the correct outcome.
 6   II.     LEGAL STANDARD
 7           The focus in Daubert “must be solely on principles and methodology, not on the
 8   conclusions that they generate.” Daubert v. Merrell Dow Pharms., 509 U.S. 579, 595 (1993);
 9   Primiano v. Cook, 598 F.3d 558, 564-65 (9th Cir. 2010) (“[T]he district judge is ‘a gatekeeper,
10   not a fact finder.’”) (citation omitted). Otherwise, “cross-examination, presentation of contrary
11   evidence, and careful instruction” are how expert issues are handled. Daubert, 509 U.S. at 596.
12   III.    ARGUMENT
13           A.     NantWorks’     Motion      to    Exclude         Ms.     Rowe’s       Non-Infringing
                    Alternatives Analysis is Meritless
14
             NantWorks attacks Ms. Rowe’s non-infringing alternative analysis based on
15
     two misplaced arguments:      (1) that Ms. Rowe consulted a deposed Niantic Rule 30(b)(6)
16
     fact witness (Jake Jeffery) and a Niantic technical expert (Dr. Balakrishnan) in conversations cited
17
     and described in her expert report, and (2) that NantWorks believes that Ms. Rowe’s report does
18
     not adequately address the availability of the acceptable non-infringing alternative. (Mot. at 2.)
19
     Both arguments fail.
20
             Using the well-established cost approach for patent damages analysis, Ms. Rowe opines
21
     that a non-infringing alternative would have been the removal of the accused AR Plus feature from
22
     the accused products. (Dkt. 251-1 (“Rowe Report”) ¶¶ 101-110.) Although such a common-sense
23
     conclusion (that is, simply remove the allegedly infringing feature) does not require actual technical
24
     expertise, Ms. Rowe nonetheless bolstered her opinion by consulting both Niantic’s Senior Director
25
     of Engineering (Mr. Jeffery) and Niantic’s technical expert (Dr. Balakrishnan). (E.g., Rowe Report
26
     ¶¶ 106, 108, 114.)
27
             Ms. Rowe described what Mr. Jeffery and Dr. Balakrishnan told her and cited the basis
28

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 1           The thrust of NantWorks’ other attack is to the availability and acceptability of the non-
 2   infringing alternative, and whether the alternative would offer the same “benefits.” (Mot. at 2-3.)
 3   But this is a disagreement on the merits, not the basis for a Daubert attack. As Ms. Rowe’s report
 4   explains,                                                                       (Rowe Report ¶ 9),
 5   AR Plus was not available in the accused games at launch (Rowe Report ¶ 106), and
 6                                                                          (Rowe Report ¶ 107; see also
 7   Rowe Report ¶¶ 101-110). If NantWorks wishes to challenge Ms. Rowe’s opinion, the proper
 8   forum to do so is during cross-examination, not a Daubert motion. E.g., Good Tech., 2015 WL
 9   4197554, at *4; In re MyFord Touch Consumer Litig., 291 F. Supp. 3d 936, 967 (N.D. Cal. 2018)
10   (“It traditionally falls upon cross-examination to negate the facts or factual assumptions underlying
11   an expert’s opinion.”). To be sure, even the singular portion of Ms. Rowe’s deposition testimony
12   upon which NantWorks relies does not say what NantWorks claims it does. (Compare Mot. at 3
13   (arguing Ms. Rowe “did not offer any opinions about whether ‘removing’ the AR+ encounter
14   feature from the accused products would have provided the same benefits” as the claimed
15   invention) with cited Rowe Depo. “59:8-61:21” (making the unremarkable claim that she is not the
16   “technical expert,” but she did consider “benefits” in her report).)
17           NantWorks’ application of case law is also highly misleading. NantWorks relies on
18   Presidio Components, but in that case the issue was lost profits—not reasonable royalty—and
19   NantWorks leaves out the important qualifier of “in some instances” from the quote to falsely imply
20   there is a blanket rule. (Compare Mot. at 2 with Presidio Components v. Am. Tech. Ceramics,
21   702 F.3d 1351, 1361 (Fed. Cir. 2012) (“In some instances, as is true in this case, products lacking
22   the advantages of the patented invention ‘can hardly be termed a substitute acceptable to the
23   customer who wants those advantages.’” (internal citation omitted; emphasis added).)
24   Presidio Components was also a post-trial ruling—not a Daubert ruling—further demonstrating
25   that courts allow the advantages and disadvantages of a non-infringing alternative to be decided by
26   the trier of fact.
27           NantWorks also mis-cites Grain Processing. (Compare Mot. at 2-3 with Grain Processing
28   v. Am. Maize-Prods., 185 F.3d 1341, 1351 (Fed. Cir. 1999).) In Grain Processing, the court upheld

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 1          Now, to save face, NantWorks seeks to attack Ms. Rowe’s reliance on the data both sides’
 2   experts considered. All of NantWorks’ gripes fall flat, and—at best, are fodder for cross-
 3   examination. (Mot. at 3.) Because the data came from Niantic, Niantic’s fact witnesses may
 4   authenticate and sponsor the document at trial, and the Federal Rules permit experts to rely on even
 5   inadmissible evidence. Fed. R. Evid. 703; Synopsys v. Siemens Indus. Software, No. 20-cv-04151-
 6   WHO, 2024 WL 1683637, at *8 (N.D. Cal. Apr. 17, 2024) (reliability objections are “grounds for
 7   cross-examination, not exclusion”). NantWorks’ gripes go to the weight of the evidence, not the
 8   admissibility of Ms. Rowe’s expert opinion.
 9          C.      Ms. Rowe’s Reliance on the                         Agreement is Proper
10          Relying heavily on out-of-district and inapposite case law (Mot. at 4-5), NantWorks
11   incorrectly suggests that patent settlement agreements are inadmissible. To the contrary, it is well-
12   established by the Federal Circuit that patent settlement agreements of a party may be
13   highly probative of the damages inquiry, Prism Techs. v. Sprint Spectrum, 849 F.3d 1360, 1368-71
14   (Fed. Cir. 2017), so long as they are sufficiently comparable and “differences in circumstances” are
15   accounted for appropriately. Elbit Sys. Land & C4I v. Hughes Network Sys., 927 F.3d 1292, 1299
16   (Fed. Cir. 2019) (collecting cases); Ericsson v. D-Link Sys., 773 F.3d 1201, 1227 (Fed. Cir. 2014)
17   (“that a license is not perfectly analogous generally goes to the weight of the evidence, not its
18   admissibility”).
19          Ms. Rowe used the well-established Georgia-Pacific Factor # 2 to consider “[t]he rates paid
20   by the licensee [Niantic] for the use of other patents comparable to the patent in suit.”
21   (Rowe Report ¶¶ 83-100, 126; Georgia Pacific v. U.S. Plywood, 318 F. Supp. 1116, 1120
22   (S.D.N.Y. 1970), aff’d as modified, 446 F.2d 295 (2d Cir. 1971).) Ms. Rowe appropriately
23   considered the technical and economic similarities and differences between the
24   agreement and the facts of this case. (Rowe Report ¶¶ 68, 86-100, n.369.)
25          Detailed Technical Comparability Analysis:          As is common for damages experts,
26   Ms. Rowe relied on Niantic’s technical expert, Dr. Balakrishnan, for the technical comparability
27   portion of the expert analysis. (Rowe Report ¶¶ 89-90.) Dr. Balakrishnan provided pages of
28   analysis in his report—none of which is challenged in NantWorks’ Daubert motion. (Dkt. 246-10

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 1   (“Balakrishnan Report”) ¶¶ 179-191; cf. Mot. at 4-6.)
 2           Detailed Economic Comparability Analysis: Ms. Rowe also conducted the requisite
 3   economic comparability analysis. The                agreement involved one of the parties in this
 4   litigation (Niantic) and occurred around the same time as the hypothetical negotiation.
 5   (Rowe Report ¶¶ 95, 78, 79, 86.) Ms. Rowe explained that she considered how the settlement may
 6   have affected the royalty rate agreed upon by the parties. (Rowe Report ¶ 93; Rowe Depo. 139:11-
 7   23.) For example, she noted the types of infringement, invalidity, and damages information that
 8   had been exchanged prior to the settlement. (Rowe Report ¶ 93.) Ms. Rowe also addressed disputes
 9   about the infringement and validity of the          patents at issue and the fact that Niantic agreed
10   not to challenge the patents as part of the agreement. (Rowe Report ¶¶ 86-100; Rowe Depo. 140:2-
11   142:21.)
12           Ms. Rowe’s analysis was entirely consistent with what the law requires. E.g., Prism Tech,
13   849 F.3d at 1368-71 (describing considerations for the admissibility of settlement agreements).3
14   Daubert must focus “solely on principles and methodology, not on the conclusions that they
15   generate.” Daubert, 509 U.S. at 595. NantWorks’ attack is to the weight of the evidence, not its
16   admissibility.
17           //
18           //
19           //
20           //
21           //
22           //
23           //
24           //
25

26
     3
27      NantWorks’ attack on Ms. Rowe is ironic given its own expert’s poor showing.
     NantWorks’ expert, Dr. Goedde, failed to even address the technical comparability aspects of the
28   agreements he cited and had no knowledge of the economic facts and circumstances surrounding
     the agreements he cited. (Dkt. 249 at 9-10.)
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 1           D.     NantWorks’ Attack on Dr. Polish’s Obviousness Motivations to Combine
                    Analysis as Alleged “Marketing” Opinions is Misplaced
 2
                    1.      Motivations to combine are from the perspective of a POSITA
 3
             NantWorks seeks to exclude Dr. Polish’s obviousness opinions regarding the motivations
 4
     to combine the Turf Wars and Parallel Kingdom grounds—characterizing the opinions as alleged
 5
     “marketing” opinions. (Mot. at 7.) NantWorks appears to misunderstand obviousness law.
 6
             In patent obviousness doctrine, the “motivation to combine” must be based on the
 7
     perspective of a POSITA (i.e., a person of ordinary skill in the art). FullView v. Polycom, No. 2023-
 8
     1201, 2024 WL 1843686, at *2 (Fed. Cir. Apr. 29, 2024); KSR Int’l v. Teleflex, 550 U.S. 398, 424-
 9
     25 (2007). “Determining whether one of ordinary skill in the art would have been motivated to
10
     combine the teachings of different references is a flexible inquiry.” FullView, 2024 WL 1843686,
11
     at *2 (citation omitted). Indeed, experts may rely on “common sense when explained with
12
     sufficient reasoning.” Id.
13
             Both sides’ technical experts opined on the appropriate standard for a POSITA—neither
14
     definition required “marketing” expertise. (Compare Dkt. 246-6 (“Turk Opening Report”) ¶ 33
15
     (definition proposed by NantWorks’ expert) with Dkt. 246-5 (“Polish Report”) ¶ 34 (definition
16
     proposed of Niantic’s expert).) In other words, it is undisputed that a POSITA does not have to
17
     have “marketing” experience. NantWorks’ argument that “marketing” expertise is required to
18
     opine about motivations to combine is thus completely off base.4
19
     4
20     Even if “marketing” experience were required (which it is not), only Dr. Polish—not NantWorks’
     expert Dr. Turk—has the requisite experience. Dr. Polish’s CV confirms that he has real-world
21   expertise regarding marketing and product development of consumer-facing software. (E.g.,
     Dkt. 246-5 (“Polish Report”), Appx. 1 at 4 (“Developed and oversaw implementation of marketing
22   strategies, budgets, and business plans.”); id. at 3 (indicating that Dr. Polish “[e]stablished
     marketing plans” and “[d]irected marketing of products in trade shows, national advertisements
23
     and focus groups”).) Dr. Polish also worked on software development projects that required
24   consideration of business and consumer factors. (E.g., Appx 1 at 1 (“Developed web-based content
     management system and interface for customizable user preferences.”); id. at 2 (“Designed and
25   developed a series of products to deliver digital video and audio materials over wide-area internet
     using consumer grade computers.”); id. at 3 (“System design implemented in commercial
26   product.”); id. at 3 (describing Dr. Polish’s co-founding of a company “concentrating on portable
27   products with international mass-market appeal”).) Additionally, Dr. Polish acted in business-
     related roles regarding software development. (E.g., id. at 1 (“[D]eveloped all technical sections
28   to the business plans.”); id. at 2 (“Wrote technical specification of business and logistical
     components of the system.”).); id. at 3 (“Wrote business plan and raised $350,000 startup
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 1          NantWorks also argues that Dr. Polish is not a “gaming” expert. (Mot. at 7-8.)5 But again,
 2   NantWorks fails to establish that “gaming” or “mobile gaming” expertise is necessary for the
 3   obviousness motivations to combine opinions in Dr. Polish’s report. (Compare Turk Opening
 4   Report ¶ 33 and Polish Report ¶ 34 with Polish Appx 1 (CV showing he easily satisfies the POSITA
 5   definitions provided by both sides).)
 6                  2.      Dr. Polish was well-qualified to provide the opinions in his report for
                            obviousness motivations to combine from the perspective of a POSITA
 7
            NantWorks does not challenge Dr. Polish’s computer science credentials.6 Nor does
 8
     NantWorks say that Dr. Polish is not qualified to speak to what a POSITA would have thought
 9
     about the prior art. (E.g., Polish Report, Appx. E at 23, 25-28, 38, 40, 42-43; id., Appx. F at 31,
10
     33-36, 46-47, 49-50, 251-54.)
11
            For good reason—as described in Dr. Polish’s report and CV, he earned his Ph.D. in
12
     Computer Science from Columbia University in 1993, and “[m]uch of [his] professional work over
13
     the past 35 years has been as a computer technology product developer.” (Polish Report ¶¶ 6-7.)
14
     He also “founded and served as CTO and/or Principal Product Designer for multiple
15
     software companies,” and has testified in dozens of cases. (Polish Report ¶ 4; Polish Appx 1.)
16
            Dr. Polish’s opinions regarding motivations to combine Parallel Kingdom and Turf Wars
17
     with Google Maps Mobile and the Korah prior art reference are technical opinions in line with
18
     Dr. Polish’s career and credentials. (See generally Polish Report, Appx. E; Appx. F.) Dr. Polish’s
19

20   funding.”).)
     5
       NantWorks is wrong. Dr. Polish has been qualified in and has testified in gaming patent cases,
21   including for video game maker Nintendo. The Federal Circuit affirmed on the invalidity issue
     Dr. Polish testified about. Creative Kingdoms v. Int’l Trade Com’n, 588 F. App’x 993, 995
22   (Fed. Cir. 2014); In the Matter of Certain Video Game Sys. and Wireless Controllers and
     Components Thereof, No. 337-TA-770, 2013 WL 12410036, at *23-26 (Oct. 28, 2013).
23   6
       NantWorks’ cited cases support Niantic or are plainly irrelevant. Cover v. Windsor Surry, No. 14-
24   cv-05262-WHO, 2017 WL 9837932, at *17 (N.D. Cal. July 24, 2017) (indicating that expert may
     offer “a general opinion regarding consumer expectations for wood products, something he could
25   plausibly have some knowledge of based on his experience and conversations with people in the
     industry”); Pecover v. Elec. Arts., No. C 08-2820 VRW, 2010 WL 8742757 (N.D. Cal. Dec. 21,
26   2010) (damages expert’s retail sales expertise did not cover unrelated publishing issues); Abaxis, v.
27   Cepheid, No. 10-cv-02840-LHK, 2012 WL 2979019, at *4 (N.D. Cal. July 19, 2012) (involving
     commercial success opinions); Montera v. Premier Nutrition Corp., No. 16-cv-06980-RS, 2022
28   WL 1225031, at *4 (N.D. Cal. Apr. 26, 2022) (pertaining to chemical examination methodology
     developed solely for litigation).
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 1   opinions relate to product design—combining design elements of the Google Maps Mobile and
 2   Korah prior art into the Turf Wars and Parallel Kingdom software systems. These are technical
 3   opinions from the perspective of a POSITA, and they flow naturally from consideration of how a
 4   software developer POSITA (like Dr. Polish) would approach improving or combining these
 5   software applications based on the prior art. (Compare, e.g., Polish Report, Appx. E at 10-19;
 6   Appx. F at 9-33 with Polish Report ¶¶ 2-7; Polish Appx 1.) That NantWorks disagrees a POSITA
 7   would be motivated to combine the applications in the way Dr. Polish describes is simply the
 8   subject of cross-examination, not exclusion.
 9          E.      NantWorks’ Attack on Dr. Polish’s “Generic” and “Conventional” Opinion
                    Fails Because NantWorks Did Not Attach the Relevant Analysis and Support
10
            NantWorks argues that Dr. Polish did not provide “sufficient facts or data” to support his
11
     opinion that the claimed invention was generic and conventional. (Mot. at 8.) Nothing could be
12
     farther from the truth.
13
            NantWorks simply failed to attach the relevant portions of Dr. Polish report, which spanned
14
     hundreds of pages of detailed analysis and evidence. To support his conclusion, Dr. Polish
15
     included: (1) a detailed prior art chronology of 170 years of history in a 54-page “Technology
16
     Background” section to show the patented ideas were well-known and conventional; (2) a 26-page
17
     “Overview of the ’051 Patent” which included known and admitted pre-existing technologies;
18
     (3) 900 pages of invalidity claim charts showing each and every claim element was present in the
19
     prior art; and (4) a detailed Section 101 section. (Dkt. 246-5, Polish Report & Appendices.)
20
     NantWorks cannot claim ignorance of all this analysis and evidentiary support, especially since Dr.
21
     Polish confirmed during deposition that all of these sections support his conclusion regarding the
22
     generic and conventional nature of the ’051 claims. (Chen Ex. 6 (“Polish Depo.”), 128:13-129:17,
23
     155:4-160:14, 161:6-17; Dkt. 246-5, Polish Report ¶¶ 231 (“As explained above…”), 244 (citing
24
     “Technology Background” and “Overview of the ’051 Patent” sections of Polish report).)
25
     NantWorks’ gripes about Dr. Polish’s analysis in paragraphs 239 and 246 are nothing more than
26
     potential fodder for cross-examination, and NantWorks’ mischaracterizations of Dr. Polish’s
27
     deposition testimony are not a basis for exclusion.
28

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 1   IV.   CONCLUSION
 2         NantWorks’ Daubert should be denied in its entirety.

 3

 4   Dated: May 9, 2024                             COOLEY LLP

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